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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN


FLOYD’S 99 HOLDINGS, LLC,                        )
a Colorado limited liability company,            )   Hon. Gerald E. Rosen
                                                 )   Referred to Hon. Paul J. Komives
              Plaintiff,                         )
v.                                               )
                                                 )
JUDE’S BARBERSHOP, INC., et al.,                 )   Case No.: 2:12-cv-14696-GER-PJK
                                                 )
       Defendants                                )

     FLOYD’S 99 HOLDINGS, LLC’S REPLY TO DEFENDANTS’ RESPONSE TO
      MOTION IN LIMINE RE RUDY’S BARBERSHOP AND BRIEF IN SUPPORT
                                THEREOF


       Plaintiff Floyd’s 99 Holdings, LLC (Floyd’s), by and through its counsel, MOYE

WHITE LLP, submits the following Reply in support of its Motion [Doc 46] requesting that

this Court enter an order in limine precluding Defendants Jude’s Barbershops from

presenting evidence, testimony, or argument related to Rudy’s Barbershop. In support

thereof, Floyd’s states as follows:

                                      ISSUE PRESENTED

Question: Whether the Court should preclude Jude’s from presenting evidence
regarding Rudy’s Barbershop on the grounds it is confusing, prejudicial, a waste of time
and not relevant because they pertain to affirmative defenses (that Floyd’s committed
fraud on the USPTO by failing to disclose Rudy’s prior use of the trade dress) that
merely remove the incontestable status of Floyd’s trademark, not its ability to bring a
claim for trademark infringement against Jude’s.

Answer: The Court should bar such evidence.

                                 CONTROLLING AUTHORITY

Federal Rules of Evidence 401, 403.


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                                         I. FACTS

       Floyd’s incorporates the factual background set forth in its previously filed Motion

in Limine to Bar evidence related to Rudy’s Barbershop.

                                      II. ARGUMENT

A.     JUDE’S FAILED TO COUNTER THE REASONS THAT THE EVIDENCE OR
       TESTIMONY RELATED TO RUDY’S BARBERSHIP IS NOT UNFAIRLY
       PREJUDICIAL, CONFUSING OF THE ISSUES AND MISLEADING TO THE
       JURY.

       1.     Jude’s Response Confirms Its Lack Of Standing To Bring A Prior Use
              Defense.

       In its Response, Jude’s fails to explain why its defense of its own infringement

relates in any meaningful way to the rights, if any, of Rudy’s. As set forth in Plaintiff’s

Motion, had Rudy’s been sued by Floyd’s for infringing upon its trade dress, Rudy’s

could attempt to claim that it was an innocent prior user of Floyd’s trade dress. Jude’s

does not assert that it was a junior user (it only claims Rudy’s to be), and Jude’s cannot

confuse the jury and present unfairly prejudicial evidence in a vain attempt to stand in

the shoes of Rudy’s, a third party herein, to excuse Jude’s infringing conduct. Jude’s

defenses must stand or fall based on Jude’s own conduct, and the court should

preclude Jude’s from presenting any form of evidence of “prior use” of the trade dress

by Rudy’s Barbershop.

       2.     Jude’s Cannot Avoid Its Infringing Conduct By Attempting To Divert
              Attention To The Trademark’s Approval Process With The USPTO.

       As set forth in Plaintiff’s Motion, “all a finding of fraud does is knock out the

mark’s ‘incontestable’ status … [i]t does not affect the mark’s validity, because a

trademark need not be registered to be enforceable. Specialized Seating, Inc. v.



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Greenwich Industries, LP, 616 F.3d 722, 728 (7th Cir. 2010). Jude’s does not dispute

that its efforts to argue fraud on the USPTO does not, and cannot, affect the validity of

Floyd’s trademark. In fact, the existence and validity of Floyd’s mark is undisputed, and

Floyd’s common law rights also exist independently of any interaction with the USPTO.

See Patsy’s Italian Restaurant, Inc. v. Banas, 658 F.3d 254, 272 (2d. Cir. 2011)

(“[W]hen a party’s registered mark is cancelled due to fraud before the PTO, the party

can still bring an action as an owner of an unregistered mark for relief pursuant to

section 43(a) of the Lanham Act …”); Orient Exp. Trading Co., Ltd. v. Federated Dept.

Stores, Inc., 842 F.2d 650, 654 (2d Cir. 1988).

       Because Floyd’s federal rights in its marks, and its common law rights exist and

are valid, there is no point for Jude’s to attempt to confuse the jury to this reality by

arguing about alleged fraud in registration. Such evidence has no probative value

because Floyd’s right of action exists irrespective of Jude’s arguments. At the same

time, such evidence is designed to create jury confusion and the appearance of

impropriety to distract the jury from the actual issues in the case. For this reason,

Jude’s Response confirms the prejudicial nature of this evidence, and the Court should

grant the Motion and exclude any evidence of Rudy’s Barbershop at trial pursuant to

Rule 403.

       3.     The Cases Cited by Jude’s Apply to Third Party Use of the Same
              Trademarks, not Third Party Use of Similar Trade Dress.

       The cases cited by Jude’s in its Response do not support its attempt to cloud the

jury with pictures of irrelevant and prejudicial pictures of other barbershops. Jude’s

argues that the Sixth Circuit permits evidence of third-party use to demonstrate


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similarity (and thus confusion between) marks. However, the cases cited by Jude’s

discuss a party’s use of the same exact word in its mark instead of (what is relevant

here) a party’s use of similar, and thus infringing, trade dress. See e.g., Citizen’s

Banking Corp. v. Citizens Financial Group, Inc., 320 Fed. Appx. 342, 347 (6th Cir. 2009)

(evidence regarding use of and ubiquity of the word “citizen” in name of other banks

was relevant to weakness of mark) and Data Concepts, Inc. v. Digital Consulting, Inc.,

150 F.3d 620 (6th Cir. 1998) (finding analysis of weakness of marks was inadequate

because it did not consider ninety websites incorporating “dci” name, among other

evidence); AutoZone, Inc. v. Tandy Corp. 373 F.3d 786 (6th Cir. 2004) (200 pages of

evidence of word “zone” demonstrated that word was weak but not that “autozone” was

a weak mark). Therefore, Jude’s cases do not support its position, and Floyd’s relief

should be granted.

                                  RELIEF REQUESTED

       Floyd’s respectfully requests that the Court enter an order precluding Defendants

from presenting any evidence, argument, testimony, or otherwise regarding Rudy’s

Barbershop.




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  DATED this 20th day of April, 2015.

                                        Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 20, 2015, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system which will send notification of such filing to the
following email addresses:


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